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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


KEEWES SERVICE CO., INC.
                       )
                       )
          Plaintiff,   )
                       )
     vs.               )                               Case No. 2:15-CV-09252-JWL-GLR
                       )
BOARD OF TRUSTEES OF   )
INDEPENDENCE COMMUNITY )
COLLEGE,               )
                       )
          Defendant.   )


                                             ANSWER

        COMES NOW the Defendant, Independence Community College (“ICC”) and for its

Answer states:

        1. Each and every allegation set forth in the Complaint not specifically admitted here is

             denied.

        2. Defendant has insufficient information to form beliefs as to the allegations in paragraph

             1 of the Complaint and for this reason denies said allegations.

        3. The allegations of paragraph 2 of the Complaint are admitted.

        4. This Defendant has insufficient information to form beliefs as to the allegations in

             paragraphs 3 of the Complaint and for this reason denies said allegations.

        5. Paragraph 4 of the Complaint is denied.

        6. The allegations of paragraph 5 of the Complaint are admitted.




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        7. In response to paragraphs 6, 7, 8, 9, 10 and 11 of the Complaint, this Defendant states

             that the Agreement speaks for itself, and this Defendant, consequently, admits such

             allegations to the extent consistent with the Agreement, but denies such allegations in

             all other respects.

        8. This Defendant has insufficient information to form beliefs as to the allegations of

             paragraphs 12, 13, 14 and 15, and for this reason denies said allegations.

        9. It is admitted, as alleged in paragraph 16, that Exhibit B is a true and accurate copy of

             a letter of June 24, 2015, sent by Wendy Isle to Plaintiff.

        10. The allegations of paragraphs 17, 18, 19 and 20 of the Complaint are denied.

                                         AFFIRMATIVE DEFENSES

                 COMES NOW the Defendant and for its Affirmative Defenses states:

        1. Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

        2. The alleged contract between Plaintiff and Defendant was not executed by Plaintiff as

             required by the contract and, for this reason, is not effective.

        3. Suit against the Defendant in Federal Court is barred by the Eleventh Amendment.

        WHEREFORE, Defendant prays that the case be dismissed for lack of jurisdiction and that

Plaintiff take no relief by its Complaint.

                                         Respectfully submitted:

                                         FISHER, PATTERSON, SAYLER & SMITH, L.L.P.
                                         3550 S.W. 5th Street
                                         Topeka, Kansas 66606  (785) 232-7761



                                   By:    /s/ Justice B. King
                                         Justice B. King                             #09009
                                         Attorney for Defendant




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 2nd day of November, 2015, a true and correct copy of the

foregoing was electronically filed with the court using the CM/ECF system, which sent notification

to all parties of interest participating in the CM/ECF system.


Kathryn Lee
SPENCER FANE BRITT
9401 Indian Creek Pkwy, Suite 700
Overland Park, KS 66210
Attorneys for KeeWes Service Co., Inc.


                                              /s/ Justice B. King
                                              Justice B. King




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